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                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

 NELSON GAITAN-AYALA,            )            CIV. NO. 12-00002 JMS-BMK
                                 )            CR NO. 07-00268-01 JMS
           Petitioner,           )
                                 )            ORDER: (1) DENYING
      vs.                        )            PETITIONER’S MOTION UNDER
                                 )            28 U.S.C. § 2255 TO VACATE, SET
 UNITED STATES OF AMERICA,       )            ASIDE, OR CORRECT SENTENCE
                                 )            BY A PERSON IN A FEDERAL
           Respondent.           )            CUSTODY; AND (2) DENYING A
                                 )            CERTIFICATE OF
 _______________________________ )            APPEALABILITY

    ORDER: (1) DENYING PETITIONER’S MOTION UNDER 28 U.S.C.
    § 2255 TO VACATE, SET ASIDE, OR CORRECT SENTENCE BY A
        PERSON IN A FEDERAL CUSTODY; AND (2) DENYING A
                 CERTIFICATE OF APPEALABILITY

                                I. INTRODUCTION

               Currently before the court is Petitioner Nelson Gaitan-Ayala’s

 (“Gaitan-Ayala”) Petition Pursuant to 28 U.S.C. § 2255 to Vacate Sentence and Set

 Aside for a New Sentencing (“§ 2255 Motion”). Doc. Nos. 731, 738. Gaitan-

 Ayala challenges his sentence on various grounds, including ineffective assistance

 of counsel.

               The government filed an Opposition on May 29, 2012, Doc. No. 740,

 and Gaitan-Ayala filed a Reply on July 30, 2012. Doc. No. 747. On March 11,

 2013, an evidentiary hearing was held regarding Gaitan-Ayala’s claims that his
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 counsel, Eric Seitz, provided ineffective assistance of counsel regarding plea

 negotiations and in failing to discuss the amount of time Gaitan-Ayala faced if he

 proceeded to trial and received a guilty verdict. For the following reasons, the

 court DENIES Gaitan-Ayala’s § 2255 Motion and DENIES a certificate of

 appealability.

                                II. BACKGROUND

              On May 31, 2007, a grand jury in the District of Hawaii returned a 10-

 count Indictment charging Gaitan-Ayala, John Eduardo Ayala, Hector Cruz,

 Wilsonis Ayala, Raychel Cabral, Roxanne Bates, and Ryan Ikeda with conspiracy

 to possess with intent to distribute and to distribute 50 grams or more of

 methamphetamine and related offenses.

              On August 23, 2007, the same grand jury returned a 14-count First

 Superceding Indictment (“FSI”), which added Defendants Jose Abelardo Ayala,

 Jerry Arreola, and Brandon Saragosa, and charged Defendants with conspiracy

 with intent to distribute and to distribute 500 grams or more of methamphetamine

 and related offenses. The FSI charged Gaitan-Ayala with five counts, including:

 (1) conspiring to possess with intent to distribute and to distribute 500 grams or

 more of a substance containing a detectable amount of methamphetamine in

 violation of 21 U.S.C. § 846 (Count 1); (2) distributing 50 grams or more of


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 methamphetamine on November 16, 2006 in violation of 21 U.S.C. §§ 841(a)(1)

 and (b)(1)(A) (Count 6); (3) distributing 50 grams or more of methamphetamine on

 March 23, 2007 in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A) (Count 7);

 (4) using a communication facility in causing and facilitating the commission of a

 conspiracy to possess with intent to distribute and to distribute methamphetamine

 on December 13, 2006 in violation of 21 U.S.C. § 843(b) (Count 11); and

 (5) using a communication facility in causing and facilitating the commission of a

 conspiracy to possess with intent to distribute and to distribute methamphetamine

 on December 17, 2006 in violation of 21 U.S.C. § 843(b) (Count 12).

                Trial commenced against Gaitan-Ayala on October 7, 2008 and after

 five days of testimony, the jury returned a verdict against Gaitan-Ayala on all

 Counts of the FSI on October 17, 2008.1

                After the trial, the government filed three “Notices of Newly

 Discovered Giglio Material,” and in response, Gaitan-Ayala filed a Motion for

 New Trial. On April 2, 2009, the court granted the Motion for New Trial as to

 Counts 6, 11, and 12 of the FSI. See United States v. Gaitan-Ayala, 2009 WL

 901522 (D. Haw. Apr. 2, 2009). The government chose not to retry Gaitan-Ayala

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          The court previously described the evidence presented at trial in its April 2, 2009 Order
 Granting in Part and Denying in Part Defendant Nelson Gaitan-Ayala’s Motion for a New Trial.
 See United States v. Gaitan-Ayala, 2009 WL 901522 (D. Haw. Apr. 2, 2009). The court does
 not repeat it here.

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 on these counts, and on June 15, 2009, the court sentenced Gaitan-Ayala on Counts

 1 and 7 to 264 months in prison, five years supervised release, and a $100 special

 assessment.

               Gaitan-Ayala subsequently appealed, arguing that the court erred in

 sustaining the conviction on Counts 1 and 7, and that other alleged errors (i.e., his

 pretrial confinement in Honolulu Federal Detention Center’s Special Housing Unit

 (“SHU”), the admission of gun photographs at trial, the prosecution’s leading

 questions at trial, the exclusion of Nathan Oandasan’s prior statement at trial, and

 interruptions of counsel’s closing argument) rendered his trial unfair. On August

 9, 2010, the Ninth Circuit affirmed Gaitan-Ayala’s conviction. United States v.

 Gaitan-Ayala, 454 Fed. Appx. 538 (9th Cir. 2010).

               On January 24, 2013, Gaitan-Ayala filed his § 2255 Motion. Doc.

 Nos. 731, 738. On January 30, 2013, the court entered an order finding that

 Gaitan-Ayala waived his attorney-client privilege as to the issues raised in the

 § 2255 Motion, as well as to communications between Gaitan-Ayala and Seitz that

 are reasonably related to those issues. Doc. No. 736. On May 29, 2012, the

 government filed its Opposition, Doc. No. 740, and Gaitan-Ayala filed a Reply on

 July 30, 2012. Doc. No. 747.

               On August 2, 2012, the court entered an Order requiring (1) an


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 evidentiary hearing on the limited issue of Seitz’ advice regarding the plea process

 and likely prison sentence upon a guilty verdict, and (2) that counsel be appointed

 to Gaitan-Ayala for this limited issue. Doc. No. 748. An evidentiary hearing on

 this limited issue was held on March 11, 2013, where Gaitan-Ayala and Seitz

 testified.

                          III. STANDARD OF REVIEW

              The court’s review of Gaitan-Ayala’s Motion is governed by 28

 U.S.C. § 2255(a):

              A prisoner in custody under sentence of a court
              established by Act of Congress claiming the right to be
              released upon the ground that the sentence was imposed
              in violation of the Constitution or laws of the United
              States, or that the court was without jurisdiction to
              impose such sentence, or that the sentence was in excess
              of the maximum authorized by law, or is otherwise
              subject to collateral attack, may move the court which
              imposed the sentence to vacate, set aside or correct the
              sentence.

              A court should hold an evidentiary hearing on a § 2255 motion

 “unless the files and records of the case conclusively show that the prisoner is

 entitled to no relief.” 28 U.S.C. § 2255(b). “In determining whether a hearing and

 findings of fact and conclusions of law are required, ‘[t]he standard essentially is

 whether the movant has made specific factual allegations that, if true, state a claim

 on which relief could be granted.’” United States v. Withers, 638 F.3d 1055, 1062

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 (9th Cir. 2010) (quoting United States v. Schaflander, 743 F.2d 714, 717 (9th Cir.

 1984)). “Thus, the district court’s decision that [the petitioner’s] ineffective

 assistance claim did not warrant an evidentiary hearing [is] correct if his

 allegations, when viewed against the record, do not state a claim for relief or are so

 palpably incredible or patently frivolous as to warrant summary dismissal.” United

 States v. Leonti, 326 F.3d 1111, 1116 (9th Cir. 2003) (quoting Schaflander, 743

 F.2d at 717).2 Conclusory statements in a § 2255 motion are insufficient to require

 a hearing. United States v. Johnson, 988 F.2d 941, 945 (9th Cir. 1993).

                                      IV. DISCUSSION

                Gaitan-Ayala raises a laundry list of reasons why he is entitled to

 relief pursuant to § 2255, which can be categorized as (1) claims already raised on

 direct appeal; (2) claims that were raised neither at trial nor on direct appeal; (3) a

 claim that the court erred during sentencing by applying a four-level enhancement

 pursuant to U.S.S.G. § 3B1.1(a); (4) a claim that new impeachment evidence

 regarding witness Carlos Aguilar-Alvarez warrants a new trial and/or dismissal of



        2
           Although an evidentiary hearing is normally required when a petitioner’s allegations
 are based on facts outside of the record, no hearing is required when the petitioner’s credibility
 can be “conclusively decided on the basis of documentary testimony and evidence in the record.”
 Watts v. United States, 841 F.2d 275, 277 (9th Cir. 1988); see also Frazer v. United States, 18
 F.3d 778, 781 (9th Cir. 1994). Such is the case on all of Gaitan-Ayala’s claims except for those
 asserting that Seitz provided ineffective assistance of counsel regarding plea negotiations and in
 advising Gaitan-Ayala regarding likely prison sentences.

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 the FSI against him, and (5) claims for ineffective assistance of counsel. The court

 addresses these claims in turn.

 A.    Claims Raised on Direct Appeal

              Where a defendant raises an issue “on direct appeal and the previous

 panel addressed it, then that decision is law of the case.” United States v. Jingles,

 702 F.3d 494, 498 (9th Cir. 2012) (citing In re Rainbow Magazine, Inc., 77 F.3d

 278, 281 (9th Cir. 1996)). “Under the ‘law of the case’ doctrine, a court is

 ordinarily precluded from reexamining an issue previously decided by the same

 court, or a higher court, in the same case.” Id. at 499 (quoting Richardson v.

 United States, 841 F.2d 993, 996 (9th Cir. 1988)). The law of the case doctrine

 applies where the issue in question was “decided explicitly or by necessary

 implication in [the] previous disposition.” Id. (quoting United States v. Lummi

 Indian Tribe, 235 F.3d 443, 452 (9th Cir. 2000) (alterations in original)).

              So long as the issues presented “are essentially the same,” the law of

 the case doctrine will apply unless the movant establishes that: “(1) the decision is

 clearly erroneous and its enforcement would work a manifest injustice,

 (2) intervening controlling authority makes reconsideration appropriate, or

 (3) substantially different evidence was adduced at a subsequent trial.” Gonzalez v.

 Arizona, 677 F.3d 383, 389 n.4 (9th Cir. 2012), cert. granted, 133 S. Ct. 476 (2012)


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 (quotations omitted); see also Ingle v. Circuit City, 408 F.3d 592, 594 (9th Cir.

 2005) (listing additional factors as including whether other changed circumstances

 exist, or a manifest injustice would otherwise result).

                The law of the case doctrine applies to two of Gaitan-Ayala’s claims

 -- that he was rotated through the SHU during his pretrial custody, Doc. No. 731,

 Pet’n at 3, and that the government failed to timely disclose Giglio material such

 that a new trial was required on all counts of the FSI. Id. at 7. Gaitan-Ayala raised

 these same arguments on direct appeal and the Ninth Circuit rejected them -- the

 Ninth Circuit (1) held that Gaitan-Ayala’s rotation through the SHU was

 reasonably related to the government’s goal of preventing witness intimidation,3

 Gaitan-Ayala, 454 Fed. Appx. at 540, and (2) affirmed the district court’s

 determinations that the Giglio material did not impact the convictions on Counts 1

 and 7. Id. at 539-40. Further, Gaitan-Ayala offers no reason why the law of the

 case doctrine should not apply.

                The court therefore DENIES Gaitan-Ayala’s § 2255 Motion raising

 claims regarding his rotation through the SHU and the government’s disclosure of

 Giglio material.

        3
           Gaitan-Ayala was one of six defendants charged in the FSI that were held at
 Honolulu’s Federal Detention Center. They were held separately after one co-defendant was
 allegedly pressured by another co-defendant not to change his plea, which required each co-
 defendant to be held in the SHU on a rotational basis for thirty to thirty-five days at a time.

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 B.    Claims That Could Have Been Raised on Appeal

              Absent a showing of cause and prejudice, a federal habeas petitioner

 procedurally defaults on all claims that were not raised on direct appeal, other than

 claims asserting that the petitioner was deprived of effective assistance of counsel.

 See Massaro v. United States, 538 U.S. 500, 504 (2003); Bousley v. United States,

 523 U.S. 614, 621-22 (1998); United States v. Frady, 456 U.S. 152, 167-68 (1982).

 The Supreme Court has explained:

              [T]o obtain collateral relief based on trial errors to which
              no contemporaneous objection was made, a convicted
              defendant must show both (1) “cause” excusing his
              double procedural default, and (2) “actual prejudice”
              resulting from the errors of which he complains.

 Frady, 456 U.S. at 167-68.

              “‘[C]ause’ under the cause and prejudice test must be something

 external to the petitioner, something that cannot fairly be attributed to him.”

 Coleman v. Thompson, 501 U.S. 722, 753 (1991). Examples of external factors

 that constitute cause include “interference by officials,” or “a showing that the

 factual or legal basis for a claim was not reasonably available to counsel.” Murray

 v. Carrier, 477 U.S. 478, 488 (1986). To show “actual prejudice,” a § 2255

 petitioner “must shoulder the burden of showing, not merely that the errors at his

 trial created a possibility of prejudice, but that they worked to his actual and


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 substantial disadvantage, infecting his entire trial with error of constitutional

 dimensions.” Frady, 456 U.S. at 170.

               Gaitan-Ayala raises several issues in his § 2255 Motion that he failed

 to raise on appeal, including that: (1) he was deprived attorney-client privacy

 because his attorney visits were videotaped, Doc. No. 731, Pet’n at 3; (2) the

 government vouched for the credibility of witness Zaneta Nixon and/or other

 witnesses at trial, id. at 4; and (3) he received an illegal sentence as to Count VII

 because the jury convicted him of a violation of 21 U.S.C. § 846, but the court

 sentenced him based on a violations of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A), id. at

 5. Because Gaitan-Ayala has failed to establish cause for his default and prejudice,

 these claims all fail.

               Specifically, all of these claims should have been reasonably available

 to Gaitan-Ayala’s counsel such that he cannot establish that any external factor

 prevented him from raising these issues on appeal. And to the extent Gaitan-Ayala

 argues that he failed to earlier raise these issues due to his counsel’s ineffective

 assistance, Gaitan-Ayala has failed to establish any prejudice -- his assertions of

 prejudice are so vague and conclusory that he has failed to show that any of these

 alleged errors “worked to his actual and substantial disadvantage, infecting his

 entire trial with error of constitutional dimensions.” Frady, 456 U.S. at 170.


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                And even setting aside Gaitan-Ayala’s failure to carry his burden,

 these claims lack merit on their face.4 First, there is no prohibition against

 subjecting an inmate’s legal visits to videotaping, see 28 C.F.R. § 543.13(e), and

 the government has a legitimate interest in the security of detention facilities.

 Block v. Rutherford, 468 U.S. 576, 586 (1984). Indeed, Gaitan-Ayala offers

 nothing but conclusory assertions as to how videotaping caused him any prejudice.

 Second, Gaitan-Ayala asserts in only the most conclusory fashion that the

 government improperly vouched for Zaneta Nixon, providing no explanation

 explaining how and/or when it occurred. The court is not aware of any improper

 vouching, much less any vouching that would have affected Gaitan-Ayala’s

 conviction. Third, Gaitan-Ayala did not receive an illegal sentence as to Count

 VII. Rather, he appears to have confused the counts in the Indictment versus the

 FSI -- Gaitan-Ayala was convicted and sentenced for a violation of 21 U.S.C.

 §§ 841(a)(1) and (b)(1)(a) as charged in the FSI (in comparison, Count VII of the

 original Indictment charges a violation of 21 U.S.C. § 846).5

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          As a result, to the extent Gaitan-Ayala raises these claims as ineffective assistance of
 counsel claims, they fail for the same reasons here -- Gaitan-Ayala cannot establish the
 necessary prejudice for an ineffective assistance of counsel claim where the claim itself wholly
 lacks merit.
        5
            In his Reply, Gaitan-Ayala argues that he unaware of the renumbering of the counts
 because was never provided the FSI and was therefore unable to follow what was being argued
 at trial. Doc. No. 747, Pet’r Reply at 4. The court rejects this argument out of hand -- Gaitan-
                                                                                      (continued...)

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                The court therefore DENIES the § 2255 Motion on these claims.

 C.     Four-Level Leader Enhancement

                Gaitan-Ayala argues that the court erred during sentencing by

 applying a four-level enhancement pursuant to U.S.S.G. § 3B1.1(a), which applies

 where “the defendant was an organizer or leader of a criminal activity that

 involved five or more participants or was otherwise extensive.”6 Gaitan-Ayala

 argues that the jury needed to make the leader determination, and that the evidence

 at trial established that John Ayala, not Gaitan-Ayala, was the leader. The court

 disagrees.

                As an initial matter, the four-level enhancement is a sentencing factor

 that may be determined by the court. The district court may engage in judicial fact

 finding at sentencing so long as it treats the Sentencing Guidelines as advisory and


        5
         (...continued)
 Ayala was arraigned on the charges contained in the FSI on September 6, 2007. Doc. No. 179.
 Further, throughout the trial, the court and parties referred to the FSI, not the Indictment.
        6
           Although Gaitan-Ayala did not raise this issue on appeal, he made an objection during
 sentencing. An objection before the trial court may be sufficient to preserve the issue for a
 § 2255 motion, even if not raised on direct appeal. See United States v. Schlesinger, 49 F.3d
 483, 485 (9th Cir. 1994) (“A contemporaneous objection to the alleged error by means of a Rule
 35 motion may be sufficient to preserve the issue for collateral review under § 2255. Because
 there was no such motion in this case, we need not decide that question.” (citations omitted)); see
 also United States v. McMullen, 98 F.3d 1155, 1157 (9th Cir. 1996) (stating that all
 non-constitutional errors are waived unless objected to in the district court or on direct appeal).
 Because Gaitan-Ayala’s claim fails on the merits, the court need not decide whether Gaitan-
 Ayala’s failure to appeal this non-constitutional sentencing issue precludes him from raising this
 claim in his § 2255 Motion.

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 the sentence does not exceed the statutory maximum. United States v. Booker, 543

 U.S. 220, 233 (2005) (“[W]hen a trial judge exercises his discretion to select a

 specific sentence within a defined range, the defendant has no right to a jury

 determination of the facts that the judge deems relevant.”); United States v.

 Williamson, 439 F.3d 1125, 1140 (9th Cir. 2006) (applying Booker); see also

 United States v. Fitch, 659 F.3d 788, 794 (9th Cir. 2011) (“[O]nce there is a

 conviction, the sentencing judge is possessed of extraordinarily broad powers to

 find the facts that will drive the sentence.”). In sentencing Gaitan-Ayala, the court

 treated the Sentencing Guidelines as advisory only, and did not sentence him in

 excess of the statutory maximum.

              Turning to whether the four-level enhancement was appropriate, “a

 preponderance of the evidence must support a finding that the defendant was an

 organizer or leader, ‘not merely that the defendant was more culpable than others

 who participated in the crime.’” United States v. Rivera, 527 F.3d 891, 908 (9th

 Cir. 2008) (quoting United States v. Avila, 95 F.3d 887, 889 (9th Cir. 1996)). To

 determine “whether a defendant was an organizer or leader, as opposed to a

 manager or supervisor,” the court should consider the following factors:

              [T]he exercise of decision making authority, the nature of
              participation in the commission of the offense, the
              recruitment of accomplices, the claimed right to a larger
              share of the fruits of the crime, the degree of participation

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              in planning or organizing the offense, the nature and
              scope of the illegal activity, and the degree of control and
              authority exercised over others.

 Avila, 95 F.3d at 889-90 (quoting U.S.S.G. § 3B1.1 cmt. n.4). Upward adjustments

 have been upheld in “cases involv[ing] defendants who, the evidence showed,

 exercised some degree of control or organizational authority over others.” Rivera,

 527 F.3d at 908 (quoting United States v. Garcia, 497 F.3d 964, 969-70 (9th Cir.

 2007) (alterations in original)).

              The court rejects that there was any error in applying a four-level

 enhancement pursuant to U.S.S.G. § 3B1.1(a). At sentencing, the court explained

 that ample evidence supported applying a four-level enhancement:

                    Now, the government has the burden of proof by a
              preponderance of the evidence in this case as to [the]
              leadership role.
                    First, I believe that the evidence has been shown
              by more than a preponderance. It is clear to me that there
              existed a well-defined, sophisticated drug trafficking
              organization: Transporting drugs from Las Vegas to
              Honolulu and other places in Hawaii and then of course
              the money going back to Las Vegas.
                    I also believe, by a preponderance [of the]
              evidence, that the government has shown that the
              defendant led that organization. . . .
                    So beyond the evidence regarding the actual
              conviction underlying Count 7, that is the transaction
              involving Hector Cruz in March of ‘07, the government
              did present significant credible evidence at trial that the
              defendant was the leader of this drug trafficking
              organization between a period in 2005 through 2007.

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             That is, the coconspirators reported to him.
                     He was responsible for the shipment of drugs.
             Money was returned to him. And various people referred
             to him as the boss. People would say, Nelson Gaitan-
             Ayala is the boss.
                     Now that is conclusory, yes, but it is also very
             descriptive. It describes him as the person who
             ultimately makes the decisions within this drug
             trafficking organization.
                     Nathan Oandasan, Zaneta Nixon, and Regina
             Costales all testified that they sold methamphetamine at
             his behest and collected drug proceeds for the defendant,
             and that they were informed that he was, quote, the boss.
             Each traveled to Las Vegas with drug proceeds where the
             defendant met them and collected the money from the
             sales of methamphetamine. . . . And it only makes
             common sense that the person to whom the money is
             going is in this leadership role. . . .
                     Additionally, the government presented evidence
             that the defendant arranged to have the
             methamphetamine packaged in cans. And this deals with
             the Tufele testimony as well as the actual seized drugs
             that did come in cans.
                     Mr. Oandasan and Ms. Nixon testified that they
             had received methamphetamine packaged in this fashion.
             . . . And then in late ‘06 and early 2007, the defendant
             met with a DEA source and discussed the shipment of
             methamphetamine to Atlanta using sealed cans. Now
             that may not be part of the conspiracy in and of itself, but
             it is relevant evidence to the shipment of cans and the
             method of operation of this organization. . . .
                     The court considers the exercise of decision
             making authority, the nature of participation in the
             offense, the recruitment of accomplices, the claimed right
             to a larger share of fruits of the crime, the degree of
             participation and planning, and the nature and scope of
             the illegal activity, and the degree of control and
             authority exercised over others.

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                      In weighing these factors, the court does find by a
               preponderance of the evidence that the government has
               proven that defendant is a leader and that there were
               clearly at least five participants, including John Eduardo
               Ayala, Hector Cruz, Oandasan, Nixon, Tufele, Costales,
               and Ikeda.
                      And although the evidence shows that the
               defendant in my view insulated himself to a certain
               degree, the evidence nonetheless does show that he is a
               leader.

 Doc. No. 740-10, Gov’t Ex. J at 19-23.

               Although Gaitan-Ayala disagrees with the court’s reasoning, he has

 failed to show how this determination was not based on a preponderance of the

 evidence. The court therefore DENIES the § 2255 Motion to the extent arguing

 that the court erred in applying a four-level enhancement pursuant to U.S.S.G.

 § 3B1.1(a).

 D.     Impeachment Evidence Regarding Carlos Aguilar-Alvarez

               Gaitan-Ayala argues that his due process rights were violated when

 the government failed to disclose evidence that would have assisted him in

 impeaching witness Carlos Aguilar-Alvarez. Doc. No. 731, Pet’n at 8. Gaitan-

 Ayala has failed to establish that he is entitled to relief.

               As an initial matter, this claim is not a proper basis for a § 2255

 Motion. The Aguilar-Alvarez impeachment evidence was discovered after the trial

 and after Gaitan-Ayala had already filed his appeal. Specifically, prior to trial, the

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 government disclosed that Aguilar-Alvarez, a witness who testified that Gaitan-

 Ayala discussed his drug business with Aguilar-Alvarez on two occasions and

 offered to deliver drugs, was a paid government informant and had received an S-

 visa and various monies during his cooperation. At trial, Gaitan-Ayala’s counsel,

 Eric Seitz, questioned Aguilar-Alvarez on these issues during cross-examination.

 See Doc. No. 740-5, Gov’t Ex. E at 3-201-207. On February 4, 2010 -- well over a

 year after the October 2008 trial -- Aguilar-Alvarez was deactivated as a paid

 informant because he had provided untruthful information during an unrelated

 investigation in December 2009. See also Doc. No. 747, Pet’r Reply at 5

 (admitting that the Aguilar-Alvarez impeachment evidence could not have been

 raised at trial or on appeal because it was not discovered until 2010).

              This newly-discovered evidence is not a proper basis of a § 2255

 motion -- “short of proof of actual innocence, claims solely based on new evidence

 are generally not cognizable on habeas” and instead must be based upon an

 independent constitutional violation. United States v. Berry, 624 F.3d 1031, 1038

 (9th Cir. 2010) (citing Conley v. United States, 323 F.3d 7, 14 (1st Cir. 2003) (en

 banc) (“Merely to claim that new evidence casts doubt, even grave doubt, on the

 correctness of a conviction is not a ground for relief on collateral attack.”));

 Herrera v. Collins, 506 U.S. 390, 400 (1993) (“[N]ewly discovered evidence . . .


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 alleged in a habeas application . . . must bear upon the constitutionality of the

 applicant’s detention; the existence merely of newly discovered evidence relevant

 to the guilt of a state prisoner is not a ground for relief on federal habeas

 corpus.”) (quotations and citations omitted).

                The court recognizes, however, that it may treat Gaitan-Ayala’s claim

 regarding this new evidence as a motion seeking a new trial. See Berry, 624 F.3d

 at 1039 (explaining that where a § 2255 motion is filed within the time period

 allowed for new trial motions, the § 2255 motion may be treated as a Rule 33

 motion for a new trial). To qualify for a new trial, Gaitan-Ayala must establish

 that:

                (1) the evidence is newly discovered; (2) the defendant
                was diligent in seeking the evidence; (3) the evidence is
                material to the issues at trial; (4) the evidence is not
                (a) cumulative or (b) merely impeaching; and (5) the
                evidence indicates the defendant would probably be
                acquitted in a new trial.

 United States v. Hinkson, 585 F.3d 1247, 1264 (9th Cir. 2009) (en banc) (citations

 omitted).7



         7
          Despite the element that a defendant must establish that the evidence is not “merely
 impeaching,” such evidence may warrant a new trial under some circumstances. Specifically,
 United States v. Davis, 960 F.2d 820, 825 (9th Cir. 1992), explains that impeachment evidence
 may warrant a new trial where it “render[s] the witness’ testimony totally incredible [and where]
 the witness’ testimony were uncorroborated and provided the only evidence of an essential
 element of the government’s case.”

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              Treating Gaitan-Ayala’s argument as a Motion for New Trial, he has

 failed to establish that this new evidence indicates that he would probably be

 acquitted in a new trial. The court is well-aware of the evidence presented at trial

 -- from presiding at trial, ruling on Gaitan-Ayala’s previous Motion for New Trial,

 see Gaitan-Ayala, 2009 WL 901522, and reviewing the record again for Gaitan-

 Ayala’s § 2255 Motion. Aguilar-Alvarez’ testimony was simply not critical to

 either Count 1 or 7 of the FSI. Specifically, Count 1 of the FSI charged Gaitan-

 Ayala with conspiracy to possess with intent to distribute and to distribute

 methamphetamine, while Count 7 charged him with distribution of 50 grams or

 more of methamphetamine on or about March 23, 2007. As detailed in the April 2,

 2009 Order Granting in Part and Denying in Part Gaitan-Ayala’s earlier Motion for

 New Trial, these Counts were established through the testimony of Edward Tufele,

 Zaneta Nixon, Regina Costales, and Honolulu police officer Keane Tabanera. Id.

 at *10-12. Aguilar-Alvarez provided no testimony specific to the March 23, 2007

 incident comprising Count 7, and the testimony of the other individuals provided a

 consistent story that Gaitan-Ayala was in charge of the drug operation sufficient

 for the jury to convict Gaitan-Ayala on Count 1. Indeed, the Ninth Circuit agreed

 with the April 2, 2009 Order’s analysis that Count 1 and 7 were properly

 supported, which did not rely on Aguilar-Alvarez’ testimony in making that


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 determination. See Gaitan-Ayala, 454 Fed. Appx. at 539.

                As a result, consideration of this new impeachment evidence as to

 Aguilar-Alvarez does not undermine the verdict on Counts 1 and 7. The court

 therefore DENIES Gaitan-Ayala’s Motion for a New Trial.

 E.     Ineffective Assistance of Counsel

                Although not clearly articulated, it appears that Gaitan-Ayala argues

 that one of his counsel previous to Seitz, Myles Breiner, provided ineffective

 assistance of counsel by failing to disclose a conflict of interest. Gaitan-Ayala

 further argues that his subsequent counsel, Eric Seitz, provided ineffective

 assistance of counsel by failing to (1) do anything about his rotation through the

 SHU; (2) investigate witness Aguilar-Alvarez, (3) discuss and obtain “fast track”

 disposition pursuant to U.S.S.G. § 5K3.1; (4) properly handle Gaitan-Ayala’s civil

 action against another of his previous counsel, Drago Campa; (5) advise him

 regarding the plea process and/or engage in plea negotiations; or (6) discuss the

 amount of time he faced if he proceeded to trial and obtained a guilty verdict.8

 Based on the following, the court finds that these allegations lack merit.


        8
           In his Reply, Gaitan-Ayala also appears to argue that Seitz was ineffective by failing to
 timely respond to Gaitan-Ayala’s letters, failing to notify him that the writ of certiori to the
 Supreme Court was denied, and performing work without authorization. Doc. No. 747, Pet’r
 Reply at 10-11. Gaitan-Ayala missed no deadlines, however, and otherwise fails to explain how
 Seitz’ actions prejudiced him.

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       1.     Legal Standard for Ineffective Assistance of Counsel Claims

              To prevail on an ineffective assistance claim, a § 2255 movant must

 show (1) that counsel’s representation fell below an objective standard of

 reasonableness, and (2) that there is a reasonable probability that, but for counsel’s

 unprofessional errors, the result of the proceeding would have been different.

 Strickland v. Washington, 466 U.S. 668, 687-88 (1984).

              Counsel “is strongly presumed to have rendered adequate assistance

 and made all significant decisions in the exercise of reasonable professional

 judgment.” Id. at 690; see Hughes v. Borg, 898 F.2d 695, 702 (9th Cir. 1990).

 “[S]trategic choices made after thorough investigation of law and facts relevant to

 plausible options are virtually unchallengeable; and strategic choices made after

 less than complete investigation are reasonable precisely to the extent that

 reasonable professional judgments support the limitations on investigation.”

 Strickland, 466 U.S. at 690-91.

              Even upon showing that counsel’s performance is deficient, the

 petitioner must also show that the deficiency was prejudicial to the petitioner’s

 defense. Id. at 692. Stated differently, the petitioner “must show that there is a

 reasonable probability that, but for counsel’s unprofessional errors, the result of the

 proceeding would have been different.” Id. at 694. A court need not determine


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 whether counsel’s performance was deficient before examining the prejudice

 suffered by the petitioner as a result of the alleged deficiencies. See id. at 697. In

 other words, any deficiency that does not result in prejudice necessarily fails.

       2.     Application

              a.     Failure to disclose conflict of interest

              Although not clear, Gaitan-Ayala appears to assert that one of his

 previous attorneys provided ineffective assistance of counsel by failing to disclose

 his conflict of interest and/or take action on that conflict earlier. Doc. No. 731,

 Pet’n at 5 (“Defendant was prejudiced in this ground by his defense counsel due to

 the conflict of interest and by the Government using its star witness to disqualify

 defendant’s attorney.”).

              It appears that Gaitan-Ayala is referring to Myles Breiner, who was

 retained by Gaitan-Ayala in December 2007, and who had previously represented

 Jason Ciufo, a defendant charged in a separate case. On January 29, 2008, the

 government filed a Motion for Hearing on Conflict of Interest of Myles Breiner

 based on his prior representation of two cooperating witnesses who were expected

 to testify on behalf of the government. Doc. No. 311. In opposition, Gaitan-Ayala

 argued that no conflict existed and in the event that any conflict did exist, he was

 prepared to waive it to maintain Breiner as his attorney. Doc. No. 328. Although


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 then-Magistrate Judge Leslie E. Kobayashi denied the motion, on February 21,

 2008, the court granted the government’s appeal, disqualified Breiner from

 representing Gaitan-Ayala, and rejected Gaitan-Ayala’s waiver of the conflict of

 interest. Doc. No. 358.

              Given these facts, any argument that Breiner provided ineffective

 assistance by failing to disclose the conflict cannot be sustained. Contrary to any

 assertion that he was unaware of the conflict, Gaitain-Ayala was prepared to waive

 the conflict to keep Breiner as his counsel. Doc. No. 355, Mot. at 1 (asserting that

 “Counsel has informed [Gaitan-Ayala] of the Government’s claim alleging a

 potential conflict of interest, and is prepared to waive such conflict should the

 Court so determine.”). And to the extent Gaitain-Ayala takes issue with the

 disqualification in general, he cannot establish prejudice where he obtained new

 counsel. See, e.g., United States v. Luciano, 158 F.3d 655, 661 (2d Cir. 1998)

 (holding that counsel’s conflict of interest was eliminated by new counsel who

 “rigorously protected [defendant’s] interests”); United States v. Pascarella, 84

 F.3d 61, 67 (2d Cir. 1996) (“Any conflict of interest that undermined [previous

 counsel’s] ability properly to represent [defendant] disappeared once [counsel] no

 longer represented him. [defendant] makes no attempt to show how such a conflict

 before the trial began, even if it existed, prejudiced [defendant] in the presentation


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 of his defense.”). As a result, Gaitan-Ayala’s claims regarding Breiner’s

 disqualification cannot support an ineffective assistance of counsel claim.

              b.     Rotation through the SHU

              It is unclear whether Gaitan-Ayala asserts that Seitz was ineffective

 by failing to raise the due process violation he perceived was caused by his rotation

 through the SHU. See Doc. No. 731, Pet’n at 3. To the extent he makes this

 argument, however, it lacks merit. Seitz raised this issue in a Motion to Dismiss

 the Indictment and for other Appropriate Relief, Doc. No. 443, and then on appeal

 (discussed supra). That both this court and the Ninth Circuit rejected this argument

 does not show that Seitz was ineffective; rather, it merely shows that he was

 unsuccessful. And Gaitan-Ayala offers no explanation as to how he could have

 otherwise prevailed on this claim. Cf. Bailey v. Newland, 263 F.3d 1022, 1027,

 1033-34 (9th Cir. 2001) (concluding that appellate counsel was not ineffective

 because petitioner failed to show that he would have prevailed on appeal). As a

 result, Gaitan-Ayala has failed to establish that Seitz provided ineffective

 assistance of counsel regarding Gaitan-Ayala’s rotation through the SHU.

              c.     Failure to investigate Aguilar-Alvarez

              Gaitan-Ayala argues that Seitz failed to investigate Aguilar-Alvarez,

 even though Aguilar-Alvarez was the only witness who could not be significantly


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 impeached and Gaitan-Ayala later learned on his own that Aguilar-Alvarez had

 been deactivated as a paid informer. Doc. No. 731, Pet’n at 8-9. As explained

 above, however, Aguilar-Alvarez was not deactivated as a paid informer until after

 the trial and Gaitan-Ayala had filed his appeal. Because the appeal was pending,

 Seitz recommended to await the outcome of the appeal to determine the proper

 motion to file. Doc. No. 747-1, Pet’r Ex. 1(c). This plan of action appears

 reasonable given the timing of when they learned of the information and the

 procedural posture of the action, and Gaitan-Ayala offers no explanation otherwise.

              Further, even if Seitz’ performance was deficient (which the court

 does not find), Gaitan-Ayala has failed to establish any prejudice, i.e., that this new

 evidence would have resulted in a new trial and/or acquittal. As the court

 explained above, consideration of this new impeachment evidence as to Aguilar-

 Alvarez does not undermine the verdict on Counts 1 and 7 such that Gaitan-Ayala

 is not entitled to a new trial. Gaitan-Ayala’s ineffective assistance of counsel claim

 based on Seitz’ alleged to investigate Aguilar-Alvarez therefore fails.

              d.     Failure to discuss probability of early disposition program
                     pursuant to § 5K3.1

              Gaitan-Ayala argues that Seitz was ineffective for failing to discuss

 and/or seek a “fast track” early disposition program pursuant to U.S.S.G. § 5K3.1,

 which provides that “[u]pon motion of the Government, the court may depart

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 downward not more than 4 levels pursuant to an early disposition program

 authorized by the Attorney General of the United States and the United States

 Attorney for the district in which the court resides.” Fast track disposition

 pursuant to U.S.S.G. § 5K3.1 does not apply -- the United States Attorney for the

 District of Hawaii has not authorized any early disposition program. See Doc. No.

 731, Gov’t Resp. at 33. As a result, Seitz cannot be found ineffective for failing to

 pursue it.

              e.     Gaitan-Ayala’s civil action against his previous counsel Drago
                     Campa

              Gaitan-Ayala asserts that he “was prejudiced by never being advised

 by attorney and having his finances taken upon where he won a judgment against

 attorney that is still unsatisfied.” Doc. No. 731, Pet’n at 5. This assertion appears

 to be directed to the fact that Seitz represented Gaitan-Ayala in a civil action

 against another of his former attorneys, Drago Campa. In the civil action, Gaitan-

 Ayala obtained a default judgment against Campa, yet has not collected because

 they have been unable to locate Campa’s assets. See Ayala et al. v. Contreras &

 Campa et al., Civ. No. 08-00249 SOM-LEK, Doc. No. 18 (Findings of Fact and

 Conclusions of Law); Doc. No. 740-9, Gov’t Ex. I, Seitz Decl. ¶¶ 11-12. This

 claim fails -- a § 2255 Motion is limited to challenging a criminal sentence and can

 afford Gaitan-Ayala no relief regarding a civil action.

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              f.     Failure to engage in plea negotiations and/or advise Gaitan-
                     Ayala regarding likely sentence upon a jury verdict

              Gaitan-Ayala argues that “[t]here were no times counsel ever

 counseled defendant about the plea process or counseled about obtaining a fair plea

 agreement that would have resulted in a more lenient sentence.” Doc. No. 731,

 Pet’n at 3. Gaitan-Ayala further asserts that Seitz “never discussed the probability

 of how much time the defendant may receive by going to trial.” Id. In

 comparison, the government presented via declaration Seitz’ assertions that (1) he

 initiated, with Gaitan-Ayala’s authorization, discussions with the government

 regarding a plea agreement, but that the parties were so far apart that a plea

 agreement never materialized; and (2) he repeatedly advised Gaitan-Ayala that if

 he were convicted at trial he could face a sentence in excess of twenty years to be

 followed by deportation. Doc. No. 740-10, Gov’t Ex. I, Seitz Decl. ¶¶ 5, 8.

              The court appointed Gaitan-Ayala counsel and held an evidentiary

 hearing on these limited issues on March 11, 2013, at which Seitz and Gaitan-

 Ayala testified. Based upon his demeanor and manner of testifying, the court finds

 Seitz’ testimony credible and that this testimony, credited as true, establishes no

 basis for an ineffective assistance claim.

              Specifically, Seitz testified that he met with Gaitan-Ayala at least ten

 to twenty times, and was in continuous contact with Gaitan-Ayala’s daughter, who

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 also relayed information between the two. Although Gaitan-Ayala professed to

 Seitz his innocence and his desire to go to trial, he wanted to explore all

 possibilities and authorized Seitz to engage in plea agreement discussions with the

 government. Seitz testified that he spoke with the government on at least three

 occasions regarding the possibility of a plea deal, and in response the government

 would not offer a deal -- Gaitan-Ayala wanted terms that were simply not possible

 (a sentence of six to eight years, with the ability to stay in the United States

 afterward), the government believed in the strength of its case, and the government

 was not interested in the information Gaitan-Ayala could offer that could possibly

 lead to a motion for downward departure based on substantial assistance (he could

 provide information regarding individuals in Mexico, who the government could

 not apprehend).9 As a result, Seitz neither offered nor was offered a formal plea

 deal, and he informed Gaitan-Ayala of the results of these negotiations.

                Seitz further testified that he explained the Sentencing Guidelines to

 Gaitan-Ayala, including that a guilty plea would lower the sentencing range two to



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           In his Declaration, Seitz asserts that “[t]here was never any discussion about or offer of
 a government motion for a downward departure from the applicable sentencing guidelines,”
 Doc. No. 740-10, Gov’t Ex. I, Seitz Decl. ¶ 10, which arguably suggests that Seitz did not
 discuss with the government a motion for downward departure. At the March 11, 2013 hearing,
 Seitz credibly clarified that he had no detailed discussions or negotiations with the government
 regarding a motion for downward departure given that the government was not interested in what
 Gaitan-Ayala could offer.

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 three levels (for acceptance of responsibility), and that Gaitan-Ayala was facing a

 mandatory minimum, with the actual guideline range dependent on the amount of

 drugs he was found responsible for and whether he received an aggravating role

 enhancement.10

                Crediting this testimony as true, the court finds no basis for Gaitan-

 Ayala’s argument that Seitz provided ineffective assistance of counsel in not

 pursuing a plea agreement and not advising Gaitan-Ayala regarding his options and

 likely sentence. Rather, the credible evidence establishes that Seitz properly

 counseled Gaitan-Ayala regarding possible ways to lower his sentence (whether by

 pleading guilty and/or offering assistance to the government), took reasonable

 efforts in seeking a plea agreement with the government, and provided

 professional, reasonable advice to Gaitan-Ayala regarding his likely sentence and

 deportation if found guilty at trial. The court therefore DENIES Gaitan-Ayala’s

 § 2255 Motion asserting that Seitz provided ineffective assistance of counsel in


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             In comparison, Gaitan-Ayala testified that Seitz never explained at any time prior to
 trial (1) the chances of a not guilty verdict at trial; (2) how proceeding to trial may affect the
 sentence; (3) that a guilty plea affects the sentencing range by two to three levels; (4) that the
 government would not agree to a downward departure; (5) the Sentencing Guidelines and the
 mandatory minimum sentence he was facing based on the various scenarios; or (6) that Gaitan-
 Ayala could be deported after serving his sentence. Gaitan-Ayala asserts that if Seitz had
 explained the consequences of trial and the likely sentence ranges, Gaitan-Ayala would have
 never proceeded to trial. The court finds this testimony wholly incredible. Indeed, Gaitan-Ayala
 contradicted his own testimony by acknowledging that his daughter relayed to him from Seitz
 that the government would not offer him a plea deal.

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 plea negotiations and/or in advising him of his likely sentence at trial.

                    V. CERTIFICATE OF APPEALABILITY

              In denying the Petition, the court must also address whether Gaitan-

 Ayala should be granted a certificate of appealability (“COA”). See R. 11

 Governing § 2255 Cases in the U.S. Dist. Cts. (providing that “[t]he district court

 must issue or deny a certificate of appealability when it enters a final order adverse

 to the applicant.”) A COA may issue only if the petitioner “has made a substantial

 showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2).

              “The standard for a certificate of appealability is lenient.” Hayward v.

 Marshall, 603 F.3d 546, 553 (9th Cir. 2010) (en banc), overruled on other grounds by

 Swarthout v. Cooke, 131 S. Ct. 859 (2011). The petitioner is required to demonstrate

 only “that reasonable jurists could debate the district court’s resolution or that the

 issues are adequate to deserve encouragement to proceed further.” Id. (citation and

 internal quotation marks omitted). The standard “requires something more than the

 absence of frivolity but something less than a merits determination.” Id. (internal

 quotation marks omitted).

              The court carefully reviewed all of Gaitan-Ayala’s assertions and gave

 him every benefit by liberally construing them. Based on the above analysis, the

 court finds that reasonable jurists could not find the court’s rulings debatable.


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 Accordingly, a COA is DENIED.

                                  VI. CONCLUSION

              Based on the above, the court DENIES the Petition pursuant to 28

 U.S.C. § 2255 to Vacate Sentence and Set Aside for a New Sentencing, and

 DENIES a certificate of appealability.

              IT IS SO ORDERED.

              DATED: Honolulu, Hawaii, March 12, 2013.




                                           /s/ J. Michael Seabright
                                          J. Michael Seabright
                                          United States District Judge




 United States v. Gaitan-Ayala, Civ. No. 12-00002 JMS-BMK, Cr. No. 07-00268-01 JMS, Order:
 (1) Denying Petitioner’s Motion under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct
 Sentence by a Person in a Federal Custody; and (2) Denying a Certificate of Appealability

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